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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Securities and Exchange Commission
                                          Plaintiff,
v.                                                      Case No.: 1:20−cv−05227
                                                        Honorable Nancy L. Maldonado
John M. Fife, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 18, 2022:


        MINUTE entry before the Honorable Heather K. McShain: This case has been
referred for discovery supervision, to include Defendants Motion to Compel [42]. The
motion to compel [42] is entered and continued. Plaintiff shall respond to the motion by
10/28/2022. No reply to be filed unless further ordered by the Court. After the Court
reviews the parties briefing, it will determine if it can rule on the papers or if a motion
hearing is necessary. Joint status report due on 12/16/2022 to update the Court on: (a) the
progress of discovery; (b) the status of settlement discussions (if any); and (c) any other
issues the parties wish to raise with the Court. The parties may contact chambers at any
time in advance of the joint status report deadline (by email to
Chambers_McShain@ilnd.uscourts.gov) if they would like the Court's assistance with
settlement. Mailed notice. (pk, )




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